   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                              UNITED STATES BANKRUPTCY COURT

   7                                        DISTRICT OF ARIZONA

   8
        In re                                              Chapter 13
   9
        FERDINANDO NINO FORTINEAUX,                        Case No. 2-19-bk-15345-BKM
  10
        and                                                TRUSTEE’S RECOMMENDATION
  11
  12    SHAWNTELL ANETTE FORTINEAUX,                       Deadline is May 10, 2020

  13                                           Debtors.
  14
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs. Plan, and
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       case in general, have problems, the most significant of which are:
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                1. Per the Meeting of Creditors held January 22, 2020, Debtors’ 2019 Kia Optima was
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  18   totalled. An amended Plan is to be filed.

  19            2. Conn Appliances Inc scheduled as secured, but claims #9 and #10 were filed as
  20   unsecured. Amended Plan must correct treatment of the claims.
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                3. The proofs of claim filed by IRS (claim 018) and American Credit (claim 017) differ from
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       the creditors’ treatment under the Plan or are not provided for by the Plan. The Trustee has received
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       no notification that the issues have been resolved and the Debtor(s) must resolve the discrepancies
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  25   before the Trustee recommends confirmation of the Plan. As to each claim, the Trustee requires that

  26   the Debtor(s): (a) file an objection to the claim (if the debt is believed to be unsecured; (b) notify
  27   the Trustee in writing that the claim issue has been resolved and the holder of the claim will endorse
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   1   the order confirming the Plan; (c) notify the Trustee in writing that the order confirming the Plan
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       will provide for full payment of the claim; or (d) timely file an amended Plan to provide for some
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       or all payment on the claim. If resolution of the claims changes Plan funding requirements, the
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       Trustee requires the receipt of an amended Plan analysis (Local Form 13-2) with any proposed Order
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   6   confirming the Plan. If one or more objections to the proofs of claim is timely filed by the

   7   Debtor(s), then the time to submit a proposed Order confirming the Plan to the Trustee is extended

   8   by 15 days after substantive completion of the last objection.
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              4. Arizona Department of Revenue (claim 002) has filed an objection to the Plan. The
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       attorney for the Debtor(s) must notify the Trustee if the objection has been resolved or, if the
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       objection is unresolved, file the appropriate motion to get the Court to hold a hearing on the
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  13   objection. If resolution of the objection changes Plan funding requirements, the Trustee requires

  14   receipt of a new Plan analysis with any proposed order confirming the Plan. If a motion is filed to

  15   get a hearing before the Court, the time to submit a proposed Order confirming the Plan to the
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       Trustee is extended.
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              5. The Debtors may have an interest in a pending personal injury claim. The Trustee
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       requires information regarding the current status of the case, an estimate of the value of the claim,
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  20   and the expected date when the case will be resolved. The Trustee advises the Debtors that any

  21   settlement is subject to Bankruptcy Court approval and that all or a portion of any settlement or
  22   recovery may be required to be turned over to the Trustee for the benefit of creditors. The Debtors’
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       attorney must contact the Trustee’s staff attorney, Edward Maney, to prepare an Application to
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       Appoint Special Counsel. Finally, the proposed Order Confirming Plan must include a provision
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       that any funds from the claim will be applied first to unsecured, priority claims, then to unsecured,
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  28                                                   -2-


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   1   nonpriority claims, then finally as advance Plan payments, but the term of the Plan will not be
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       reduced to fewer than 36 months unless all claims are paid in full.
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               6. PLAN PAYMENT STATUS: The Debtors must cure the delinquency of $4,532.00 no
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       later than May 10, 2020.
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   6          SUMMARY: Pursuant to Local Rule 2084-10(b), by May 10, 2020, Debtors are to resolve

   7   all of the above issues, or the Debtors must file an objection to the Recommendation and obtain a

   8   hearing date. If neither is accomplished, then the Trustee could file a notice of intent to lodge a
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       dismissal order. Once the above issues are resolved, the Trustee will file a Supplemental
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       Recommendation with his requirements for the Stipulated Order Confirming Plan. The
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       Supplemental Recommendation will also include the amount required to be paid through the Plan
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  13   to unsecured creditors in order to meet the Best Interest of Creditors Test. The Trustee reserves the

  14   right to request additional documentation in the Supplemental Recommendation.

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                                                                                     Russell Brown
  16
       Copy mailed or emailed to:
                                                                                     2020.04.09
  17   FERDINANDO NINO FORTINEAUX                                                    14:52:45 -07'00'
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       TOM@NWRELIEF.COM
  24             Digitally signed
                 by Debra Toner
  25             Date:
                 2020.04.10
       __________________________________
                 09:08:49 -07'00'
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